      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

DEBRA MAYS JACKSON                                                                    PLAINTIFF

VS.                                               CIVIL ACTION NO. 3:23-cv-03095-KHJ-MTP

TOM DUFF, IN HIS INDIVIDUAL
AND OFFICIAL CAPACITIES, STEVEN
CUNNINGHAM, IN HIS INDIVIDUAL AND OFFICIAL
CAPACITIES, BRUCE MARTIN, IN HIS INDIVIDUAL
AND OFFICIAL CAPACITIES, JEANNE CARTER,
IN HER INDIVIDUAL AND OFFICIAL CAPACITIES,
CHIP MORGAN, IN HIS INDIVIDUAL AND OFFICIAL
CAPACITIES, GEE OGLETREE, IN HIS INDIVIDUAL
AND OFFICIAL CAPACITIES, HAL PARKER, IN HIS
INDIVIDUAL AND OFFICIAL CAPACITIES, J. WATT
STARR, IN HIS INDIVIDUAL AND OFFICIAL CAPACITIES,
ALFRED MCNAIR, IN HIS INDIVIDUAL AND
OFFICIAL CAPACITIES, GLENN MCCULLOUGH, IN HIS
INDIVIDUAL AND OFFICIAL CAPACITIES, SHANE HOOPER,
IN HIS INDIVIDUAL AND OFFICIAL CAPACITIES, FORD DYE,
IN HIS INDIVIDUAL AND OFFICIAL CAPACITIES,
ALFRED RANKINS, JR., IN HIS INDIVIDUAL AND
OFFICIAL CAPACITIES, MISSISSIPPI INSTITUTION
OF HIGHER LEARNING, AND JOHN DOES 1-12                                             DEFENDANTS


                BRIEF IN SUPPORT OF INDIVIDUAL DEFENDANTS’
               MOTION TO DISMISS AND FOR QUALIFIED IMMUNITY

       Plaintiff Debra Mays Jackson has sued individually a litany of current and former

Trustees of the Mississippi Board of Trustees of State Institutions of Higher Learning and its

Commissioner (the “Individual Defendants”),1 claiming that each violated Section 1983 based on



1
  Mays Jackson has misnamed Jeanne Carter Luckey as “Jeanne Carter,” Gee Ogletree as “Gee Olgetree”,
J. Walt Starr as “J. Watt Starr”, “Alfred McNair, Jr.” as “Alfred McNair”, and Glenn McCullough as
“Glenn McCollough”. Notably, McCullough never even served as a Trustee for the IHL Board during the
operative time period. See https://www.wapt.com/article/mccullough-named-director-of-mda/2093473.
He also was not included in Plaintiff’s First Amended Complaint, was not a party to the Individual
Defendants’ Motion for Enlargement of Time to Respond [Doc. 5], and Plaintiff has never attempted to
separately serve McCullough.
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 2 of 14




the IHL Board’s failure to hire her as the President of Jackson State University in 2020 and

2023.2 Mays Jackson fails to plead any fact allegations as to most of the Individual Defendants,

however, and her conclusory assertions are insufficient to overcome their qualified immunity.

This Court should dismiss her claims against each of the Individual Defendants.

1.      Relevant Facts3

        Now in its third iteration, Mays Jackson’s complaint remains long on grievances but short

on facts giving rise to plausible liability for the mix of current and former IHL Board trustees and

administrators named as Individual Defendants.4 In addition to the lack of alleged individual

factual involvement, Mays Jackson has seemingly named the individual trustees at random,

excluding some current trustees, including other former trustees and one who didn’t serve at all

during the relevant periods, and then failing to differentiate between the trustees who voted on

the 2020 appointment of Thomas Hudson as the President of Jackson State University versus the

2023 appointment of Marcus Thompson. Despite Mays Jackson’s scattershot approach, however,

the facts relevant to the Individual Defendants’ Motion to Dismiss are straight-forward.

        Pursuant to Mississippi Code Section 37-101-1, the IHL Board is granted management

and control of Mississippi’s eight public universities, including Jackson State University. Under

Article 8, Section 213 A of the Mississippi Constitution and Mississippi Code Section 37-101-15


2
  Mays Jackson sued the Individual Defendants in both their individual and official capacities. Because
the official capacity claims are claims against the Board of Trustees of State Institutions of Higher
Learning, itself (the “IHL Board”), this Motion is filed on behalf of the Individual Trustees in their
individual capacities only. See Kentucky v. Graham, 473 U.S. 159, 165, 105 S. Ct. 3099 (1985).
3
 Because the Court must accept the well-pleaded facts of the Complaint as true for purposes of
Defendants’ 12(b)(6) motion, the facts are presented in that light. In re Great Lakes Dredge & Dock Co.,
LLC, 624 F.3d 201, 210 (5th Cir. 2010). Defendants reserve the right to contest any alleged fact.
4
 Mays Jackson filed her initial Complaint on November 16, 2023 [Doc. 1]. She filed her First Amended
Complaint on November 17, 2023 [Doc. 2]. She then amended her Complaint again with leave of Court
on February 15, 2024, but titled her second amended pleading “Complaint” [Doc. 9]. All references to
Plaintiff’s Complaint in this motion are to Plaintiff’s second amended Complaint [Doc. 9].


                                                    2
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 3 of 14




(f), the IHL Board has the power and authority to elect the heads of the various State institutions

of higher learning.

        Pursuant to that authority, on November 19, 2020, the IHL Board voted to approve hiring

Thomas Hudson as President of Jackson State University. See Compl. p. 6, ¶ 26 [Doc. 9]; see

also Ex. “A” to Mtn. (IHL Board Minutes dated Nov. 19, 2020), p. 35.5 Despite being named

defendants, Trustee Tom Duff was absent for the vote, and Individual Defendant Glenn

McCullough was not even serving on the Board of Trustees at the time. Ex. “A” to Mtn. (IHL

Board Minutes dated Nov. 19, 2020), p. 35. As to the remaining defendant Trustees, Mays

Jackson fails to offer any individualized fact allegations, instead generically asserting that

“Rankins and [IHL administrative deputy] Thompson working with Steven Cunningham, the

chair of the search committee to [appoint the JSU President] and a Hudson supporter, convinced

IHL board members to name Hudson as JSU’s 12th President.” Compl. p. 6 ¶ 26.

        According to Mays Jackson, “[e]ach of the IHL board members named as defendants,

except Tom Duff, voted to hire Hudson as President.” Id. Mays Jackson concludes, without any

supporting allegations, that “[a]ll of the IHL board members knew or should have known of

Hudson’s [prior] unlawful conduct [under Title VII] inasmuch as Commissioner Rankins and his

deputy Marcus Thompson was privy to said information.” Id. Notably, however, Mays Jackson

fails to allege that she applied for the position of President in 2020, and her Complaint wholly

fails to identify how the individual trustees violated her constitutional rights when the IHL Board

failed to appoint her to a position she did not apply for. See Compl. p. 7, ¶ 27.




5
 Publicly available at http://www.mississippi.edu/board/. See Norris v. Hearst Trust, 500 F.3d 454, 461 n.
9 (5th Cir. 2007) (“it is clearly proper in deciding a 12(b)(6) motion to take judicial notice of maters of
public record.”).


                                                     3
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 4 of 14




       Mays Jackson’s allegations regarding the 2023 presidential search, which resulted in the

appointment of Marcus Thompson, fare no better. While she at least alleges she applied for that

position, her sex discrimination claim appears premised entirely on her allegation that

“Cunningham, Ormella Cummings, Bruce Martin, Gee Olgetree [sic] and Hal Parker, members

of the search committee to replace Hudson, sabotaged Mays-Jackson’s efforts to become JSU’s

13th President.” Compl. p. 11, ¶ 45. She does not further detail these “sabotage” efforts but

nakedly asserts: “[a]ware of Mays-Jackson’s 2021 EEOC Complaint, the selection committee

members narrowed the pool of applicants and decided Mays-Jackson would not be interviewed.”

Id.

       Again, however, Mays Jackson pleads no facts as to the alleged conduct of the individual

trustees, and fails to articulate how any of them purportedly violated any constitutional right.

Even more glaringly, while she again asserts this claim against all individual defendants,

McCullough, Hooper, and Dye were not even serving on the Board of Trustees at the time of the

2023 appointment. Ex. “B” to Mtn. (IHL Board Minutes dated Nov. 16, 2023), p. 1. Trustee

McNair abstained from the vote, and Trustee Morgan was absent. Id. at pp. 26-27. While she

asserts that the trustees denied her an opportunity to interview and voted with the other trustees

to hire Thompson, her claims against the Individual Defendants appear premised entirely on the

Board’s collective action and not any individual actions undertaken by any of the Individual

Defendants. Based on Mays Jacksons’ pleading, the Individual Defendants are entitled to

qualified immunity and the Court should dismiss them with prejudice.

2.     Standard of Review

       Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal for failure to state a claim

upon which relief may be granted.




                                                 4
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 5 of 14




        To avoid dismissal, a complaint must contain sufficient factual matter, accepted as
        true, to state a claim to relief that is plausible on its face. To be plausible, the
        complaint’s factual allegations must be enough to raise a right to relief above the
        speculative level. In deciding whether the complaint states a valid claim for relief,
        we accept all well-pleaded facts as true and construe the complaint in the light
        most favorable to the plaintiff. We do not accept as true conclusory allegations,
        unwarranted factual inferences, or legal conclusions.

In re Great Lakes Dredge & Dock Co., LLC, 624 F.3d 201, 210 (5th Cir. 2010) (internal

quotations and cites omitted). “Where the well-pleaded facts do not permit the court to infer

more than the mere possibility of misconduct, the complaint has alleged – but it has not ‘show[n]

– that the pleader is entitled to relief.’” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting FED.

R. CIV. P. 8(a)(2)).6

3.      Mays Jackson’s shotgun pleading is insufficient to assert a claim against the Individual
        Defendants.

        Federal Rule of Civil Procedure 8 requires that pleadings contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8. The use of

a “shotgun pleading” is insufficient to meet that burden, and occurs when the complaint either: a)

relies on multiple counts “where each count adopts the allegations of all preceding counts,

causing each successive count to carry all that came before and the last count to be a

combination of the entire complaint,” b) is “replete with conclusory, vague, and immaterial facts

not obviously connected to any particular cause of action,” c) does not separate into a different

count each cause of action or claim for relief, or d) asserts “multiple claims against multiple

defendants without specifying which of the defendants are responsible for which acts or



6
  Certain of the Individual Defendants agreed to waive service as part of an Agreed Order granting a
single consolidated response deadline for Plaintiff’s First Amended Complaint. [Docs. 5 and 7].
McCullough was not named in the First Amended Complaint and did not join in that motion. [Docs. 2 and
5]. Although Plaintiff added him as a defendant to her Second Amended Complaint, Plaintiff has never
caused a summons to be issued or attempted to serve McCullough separately, and the claims against him
are therefore also due to be dismissed pursuant to Rules 12(b)(4) and 12(b)(5).


                                                  5
          Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 6 of 14




omissions, or which of the defendants the claim is brought against.” Thomas v. Univ. of Miss.,

3:18-CV-62-GHD-RP (N.D. Miss. Dec. 17, 2018) (quoting Weiland v. Palm Beach Cnty.

Sheriff’s Office, 792 F.3d 1313, 1321-23 (11th Cir. 2015)).

           Here, Mays Jackson has committed all four shotgun pleading infractions. First, her

“cause of action” for “1983 Sex Discrimination” “realleges all prior paragraphs of the complaint

if set out here in full,” improperly resulting in a count that asserts a claim for relief jointly and

severally against all defendants based on a combination of actions and facts asserted throughout

the entirety of the complaint. See Compl. p. 14, ¶ 54. That amalgamation undermines Mays

Jackson’s attempt to set forth a plain statement showing that she is entitled to relief.

           Mays Jackson’s complaint also relies heavily on threadbare and conclusory assertions

regarding unidentified efforts to “sabotage” her desire to serve as president and “discrimination

on account of her sex.” Compl. pp. 11, 14. She also includes immaterial facts not clearly tied to

her claims against the Individual Defendants such as the “terms and conditions of her

employment [with JSU],” the prior appointment of other female presidents at Mississippi’s

Historically Black Colleges and Universities, the possible application of Elayne Hayes Anthony

to serve as president in 2023, the admission of Thompson to the Urban Higher Education

program and the awarding of scholarship funding to him, and an interview Mays-Jackson

apparently participated in to serve as the president at the University of South Carolina-Upstate.

See Compl. pp. 11-14. Those conclusory and immaterial assertions are insufficient to put any of

the Defendants on notice as to how their conduct gave rise to constitutional violation, and such

ambiguity is insufficient to set forth a short and plain statement showing Plaintiff is entitled to

relief.

           Mays Jackson also asserts the bulk of her claims against an undifferentiated grouping of




                                                   6
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 7 of 14




“defendants” and six categories of IHL officials neither identified nor named as defendants

(“officers, directors, vice presidents, agents, servants, or employees”), and specifically notes that

“when it is alleged that Commissioner Rankins, IHL, IHL Board members in their official and

individual capacities, committed any act or omission, it is meant that IHL’s officers, directors,

vice presidents, agents, servants or employees committed such acts or omissions and that at the

time such act, commission or omission was committed, it was done with the full authorization,

ratification or approval of IHL or was it [sic] done in the routine normal course and scope of

employment of IHL officers, directors, vice presidents, agents, servants or employees unless

otherwise stated in this Complaint.” Compl. p. 14 ¶ 53. Her cause of action fails to tie her legal

claims for relief back to the asserted actions of particular defendants, and merely asserts that she

“had a clearly established right to be clear of discrimination on account of her sex,” and that

“[t]he conduct of Rankins and IHL board members was objectively unreasonable.” Id. at p. 14.

She then states that based on the misconduct of “defendants,” she sustained damages. Id.

       She also fails to separate her into a different count her claims or causes of action, and

instead asserts merely that she was more qualified “when Hudson and Thompson were named

President of JSU,” despite the fact that those decisions were made by separate Boards of Trustees

on separate considerations three years apart. Id. at p. 14, ¶ 55.

       Mays Jackson’s intentionally imprecise and undifferentiated pleading makes it

impossible for any individual defendant to assess her claims on an individualized basis. She

cannot disguise the insufficiencies in her claims by injecting ambiguity with scattershot

allegations, and each defendant is entitled to a short and plain statement showing why Mays

Jackson is entitled to relief as to that particular defendant. Mays Jackson has failed to do so, and

her claims should be dismissed.




                                                  7
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 8 of 14




4.     Mays Jackson fails to identify any constitutional violation or violation of federal law in
support of her Section 1983 claim.

       “A [S]ection 1983 complaint must plead specific facts and allege a cognizable

constitutional violation in order to avoid dismissal for failure to state a claim.” Mills v. Crim.

Dist. Ct. No. 3, 837 F.2d 677, 678 (5th Cir. 1988). “Section 1983 is not itself a source of

substantive rights; it merely provides a method for vindicating already conferred federal rights.”

Bauer v. Texas, 341 F.3d 352, 357 (5th Cir. 2003). To state a claim under § 1983, a plaintiff must

“(1) allege a violation of rights secured by the Constitution or laws of the United States, and (3)

demonstrate that the alleged deprivation was committed buy a person acting under color of state

law.” Adams v. Harris Cnty. Jail, 2024 U.S. Dist. LEXIS 45860, *7 (S.D. Tex. Mar. 15, 2024)

(citing West v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250 (1988)).

       Here, Mays Jackson passingly references the Fourteenth Amendment in her jurisdictional

averment but identifies no alleged constitutional or federal statutory violation in her causes of

action. See Compl. pp. 1, 13-14. Rather than identifying any right secured by the Constitution or

laws of the United States, Mays Jackson asserts only that her “gender was a motivating factor in

the employment and compensation-related decisions made regarding her,” and that she “had a

clearly established right be clear of discrimination on account of her sex.” Mays Jackson fails to

identify the source of that claimed clearly established right, however, and the Court should

therefore dismiss her claims for failing to identify the underlying substantive law upon which her

claims are based.

5.     The Individual Defendants are entitled to qualified immunity.

       Above and beyond that facial deficiency, Plaintiff’s claims against the Individual

Defendants in their individual capacities should also be dismissed on grounds of the Individual



                                                  8
      Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 9 of 14




Defendants’ qualified immunity. Designed to protect “all but the plainly incompetent or those

who knowingly violate the law,” Malley v. Briggs, 475 U.S. 335, 341 (1986), the qualified

immunity defense “protects public officials from suit unless their conduct violates a clearly

established constitutional right.” DePree v. Saunders, 588 F.3d 282, 287 (5th Cir. 2009) (citing

Mace v. City of Palestine, 333 F.3d 621, 623 (5th Cir. 2003)). The qualified immunity standard

“gives ample room for mistaken judgments.” DePree, 588 F.3d 282 at 287 (citing Malley, 475

U.S. at 343); see also Pearson v. Callahan, 555 U.S. 223, 231 (2009) (“The protection of

qualified immunity applies regardless of whether the government official’s error is a mistake of

law, a mistake of fact, or a mistake based on mixed questions of law and fact.”).

       Where a defendant invokes qualified immunity, the burden shifts to the plaintiff to show

the defense is not available. Kovacic v. Villarreal, 628 F.3d 209, 211 (5th Cir. 2010) (citing

McClendon v. City of Columbia, 305 F.3d 314, 323 (5th Cir. 2002)). The question of qualified

immunity is to be determined as a matter of law and requires a conduct-based inquiry, not an

abstract legal or factual inquiry. Elder v. Holloway, 510 U.S. 510, 515-16 (1994).

       To disprove the applicability of qualified immunity, a plaintiff must satisfy a two-prong

test. At the dismissal stage, the court must determine whether the facts alleged make out a

violation of a constitutional right. Pearson, 555 U.S. at 232. If so, the court must decide whether

the right at question was clearly established at the time of the defendant’s alleged misconduct.

Id.; Baker v. Pound, 75 F.3d 190, 198 (5th Cir. 1996). The plaintiff must point to controlling

authority or a “robust consensus of cases of persuasive authority” that placed some constitutional

question faced by the Individual Defendants “beyond debate.” Plumhoff v. Rickard, 572 U.S.

765, 779 (2014). The Court “must ask whether the law so clearly and unambiguously prohibited

his conduct that every reasonable official would understand that what he is doing violates [the




                                                 9
     Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 10 of 14




law].” Yul Chu v. Miss. State Univ., 901 F. Supp. 2d 761, 777 (N.D. Miss. 2012) (emphasis

added).

          Plaintiff cannot overcome the Individual Defendants’ qualified immunity. First, even

taken at face value, Plaintiff’s Complaint fails to allege any of the Individual Defendants violated

her constitutional rights. To state a claim of discrimination under the Equal Protection Clause,

Plaintiff “must allege and prove that [she] received treatment different from that received by

similarly situated individuals and that the unequal treatment stemmed from a discriminatory

intent.” Priester v. Lowndes Cty., 354 F.3d 414, 424 (5th Cir. 2004) (citing Taylor v. Johnson, 257

F.3d 470, 473 (5th Cir. 2001)). A discriminatory purpose “implies that the decision maker singled

out a particular group for disparate treatment and selected his course of action at least in part for

the purpose of causing its adverse effect on an identifiable group.” Id.

          Moreover, Mississippi’s federal district courts have historically held that board members

cannot be held individually liable under § 1983 for decisions made collectively by their

governmental boards. See, e.g., Owens v. City of Flowood, 2017 U.S. Dist. LEXIS 8907, *2 (S.D.

Miss. Jan. 23, 2017); George v. Shelton, 1999 U.S. Dist. LEXIS 3757, *2 (N.D. Miss. Mar. 18,

1999) (rejecting attempt to hold individual supervisor liable for decision made by board of

supervisors as a whole).

          As noted by the Northern District in James v. Cleveland School District, however, that

absolute prohibition was scaled back by the Fifth Circuit’s ruling in Sims v. City of Madisonville,

which clarified that § 1983 liability may attach to non-decisionmakers such as individual board

members but only when the defendant’s conduct is a “but-for” cause of a constitutional violation.

2021 U.S. Dis. LEXIS 142536, *33 (N.D. Miss. Jul. 30, 2021) (construing Sims, 894 F.3d 632,

639 (5th Cir. 2018)). In that situation, a plaintiff must “demonstrate what each defendant did to




                                                  10
     Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 11 of 14




violate the asserted constitutional right.” Id. (quoting Pelichet v. Hertel, 2021 U.S. Dist. LEXIS

58808, *7 (E.D. Mich. Mar. 29, 2021)); see also Aschcroft v. Iqbal, 129 S. Ct. 1937, 1948 (2009)

(“[A] plaintiff must plead that each Government-official defendant, through the official’s own

individual actions, has violated the Constitution.”)).

          Mays Jackson has failed to do so here. The bulk of her allegations are aimed at IHL

Board Commissioner Alfred Rankins, and those allegations focus entirely on the hiring of

Hudson in 2020. She summarily asserts that Rankins was a friend of Hudson, that he

“orchestrated Hudson’s promotion to Interim President by passing over Mays-Jackson who

supervised Hudson and was more qualified than Hudson,” that he announced Hudson would not

be permitted to apply for the position of president and that a national search would be conducted,

that he “permitted Thompson and JSU employees Hudson supervised to investigate Hudson after

he sent an inappropriate photo to a JSU employee,” that he handpicked speakers to speak at an

input meeting, and that he “knew or should have known that Hudson’s violation of Title VII and

Title IX rendered him unqualified to lead JSU.” See Compl. pp. 6-7. None of those allegations,

however, demonstrate what Rankins did to deprive Mays Jackson of a constitutional right. Even

assuming the truth of Mays Jackson’s allegations for purposes of this motion only, they at best

suggest that Rankins sought to promote Hudson based on his alleged personal friendship. They

do not plausibly suggest that the treatment of Mays Jackson stemmed from her status as a

female.

          Mays Jackson’s allegations as to the remaining Individual Defendants are even more

paltry. Curiously, her only reference to Tom Duff is that he did not vote to hire Hudson in

November of 2020. See Pl.’s Compl. p. 6 ¶ 26. She includes no individual fact allegations at all

as to Individual Defendants Jeannne Carter Luckey, Chip Morgan, J. Walt Starr, Alfred McNair,




                                                 11
     Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 12 of 14




Glenn McCullough, Shane Hooper, or Ford Dye. Glenn McCullough did not even serve as a

Trustee for the IHL Board during the operative time period. Simply put, Mays Jackson has not

pled what any of them did individually to violate her constitutional rights.

       Individual Defendants Steven Cunningham, Ormella Cummings, Bruce Martin, Gee

Ogletree, and Hal Parker are at least individually referenced, but those “allegations” are nothing

more than legal conclusions masquerading as factual assertions. Without underlying facts, she

asserts that Cunningham, Cummings, Martin, Ogletree, and Hal Parker served as members of the

search committee and “sabotaged Mays-Jackson’s efforts to become JSU’s 13th President,” that

they “were aware of her 2021 EEOC Complaint,” and that they “denied Mays-Jackson an

interview but interviewed and voted with the other IHL board members to hire Thompson when

Mays-Jackson was clearly more qualified than Thompson and Thompson had been treated more

favorably than Mays-Jackson in the terms and conditions of her employment.” See Compl. p. 6 ¶

26, p. 11 ¶ 45, p. 13 ¶ 50. Mays-Jackson does not allege any facts to plausibly suggest that any of

them violated the Constitution through their own individual actions or acted with a

discriminatory purpose based on Mays-Jackson’s sex.

       The Individual Defendants are entitled to qualified immunity.

6.     The statute of limitations bars Mays Jackson’s ability to base her claims on earlier
decisions.

       While Mays Jackson appears to premise her claims only on the appointments of “Hudson

and Thompson [as] President of JSU,” she also includes a reference to the appointment of

Hudson as Interim President in her “Statement of Facts” section. Compare Compl. p. 14, ¶ 55; p.

5, ¶ 20. To the extent Mays Jackson intends to base her claim on that appointment, however, her

claim is time-barred.




                                                12
     Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 13 of 14




       For Section 1983 claims, the Court applies the forum state’s statute of limitations for

personal injury claims. Smith v. Regional Transit Authority, 827 F.3d 412, 421 (5th Cir. 2016).

The applicable statute of limitations in this case is Mississippi’s general limitations period of

three years. Miss. Code Ann. § 15-1-49(1); see also Dukes v. City of Lumberton, Civil Action

No. 2:17-CV-150-KS-MTP, 2017 WL 6373982, at *1 (S.D. Miss. Dec. 13, 2017). Mays

Jackson, therefore, must have initiated this action within three years after her cause of action

accrued or, rather, when she knew or had reason to know of her alleged injury. Smith, 827 F.3d

at 421; Dukes, Civil Action No. 2:17-CV-150-KS-MTP, 2017 WL 6373982, at *1.

       Mays Jackson filed her first complaint on November 16, 2023. Any alleged acts of

discrimination that are said to have occurred before November 16, 2020, therefore, cannot form

the basis for her Section 1983 claim. Mays Jackson alleges that Hudson was appointed Interim

President after Bynum’s resignation on February 10, 2020. Compl. at ¶¶ 19-22, 49. The statute

of limitations bars Mays Jackson’s claim to the extent she intends to rely upon Hudson being

named Interim President of JSU.

7.      Conclusion.

        Despite her lack of individualized fact allegations, Mays Jackson has taken a scattershot

approach, attempting to hold the Individual Defendants individually liable for failing to appoint

her as the President of JSU on two occasions. Those presidential appointments were made by the

IHL Board collectively, and Mays Jackson fails to allege that all of the Individual Defendants

even participated in those votes, much less individually deprived her of some constitutional or

federally-protected right. Mays Jackson’s allegations fail to state any claim for relief as to the

Individual Defendants, and the Individual Defendants are entitled to qualified immunity. This

Court should dismiss her claims against the Individual Defendants with prejudice.




                                                 13
     Case 3:23-cv-03095-KHJ-MTP Document 12 Filed 04/01/24 Page 14 of 14




       THIS, the 1st day of April 2024.

                                            TOM DUFF, STEVEN CUNNINGHAM,
                                            BRUCE MARTIN, JEANNE CARTER LUCKEY,
                                            CHIP MORGAN, GEE OGLETREE, HAL
                                            PARKER, J. WALT STARR, ALFRED MCNAIR,
                                            JR., GLENN MCCULLOUGH, SHANE HOOPER,
                                            FORD DYE, and ALFRED RANKINS, JR., ALL
                                            IN THEIR INDIVIDUAL CAPACITIES

                                            /s/ J. Andrew Mauldin
                                            POPE S. MALLETTE (MB NO. 9836)
                                            J. ANDREW MAULDIN (MB NO. 104227)
                                            Attorneys for the Individual Defendants

OF COUNSEL:

MAYO MALLETTE PLLC
2094 Old Taylor Road, Suite 200
Oxford, Mississippi 38655
Tel: (662) 236-0055 | Fax: (662) 236-0035
pmallette@mayomallette.com
dmauldin@mayomallette.com




                                              14
